                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 1 of 25




                                   1

                                   2

                                   3                                 UNITED STATES DISTRICT COURT
                                                                   NORTHERN DISTRICT OF CALIFORNIA
                                   4

                                   5
                                         BRIAN BEST,                                         CASE NO. 4:19-cv-2252-YGR
                                   6
                                                      Plaintiff,                             OMNIBUS ORDER RE PENDING MOTIONS
                                   7
                                                vs.
                                   8                                                         Dkt. Nos. 205, 206, 207, 208, 209, 211, 212,
                                         VIRGIL SMITH                                        214, 215, 216, 221, 222, 224, 229
                                   9
                                                      Defendant.
                                  10
                                              On March 17, 2022, a jury found in favor of defendant Virgil Smith with respect to this
                                  11
                                       Section 1983 action. (Dkt. No. 198.) Having tried jury cases for well over a decade, this case
                                  12
Northern District of California
 United States District Court




                                       presented the single time when the jury, compelled to do their duty, nonetheless did so with grace
                                  13
                                       and expressed compassion, writing on the jury note to plaintiff Brian Best:
                                  14
                                                       “It took a lot of courage for Mr. Best to stand up in front of this court and present
                                  15
                                                       your case. The jury appreciates it!”
                                  16   (Dkt. No. 204, Jury Notes.) The Court, and defendant, agreed. Nevertheless, the facts remain that
                                  17   Mr. Best’s constitutional rights were not violated. Reduced to its essence, this trial concerned
                                  18   whether defendant Virgil Smith used a carotid hold on plaintiff during the booking process in the
                                  19   Sonoma County jail; and if so, whether it caused damage. Ultimately, plaintiff’s memory of the
                                  20   events, from his perspective, are different than those recalled by others, including an independent
                                  21   third party. The jury believed the defendant. No evidence, especially none from someone not
                                  22   present, will ever change that Mr. Best’s recollection did not persuade.
                                  23          Since the jury verdict, plaintiff has filed numerous motions raising various substantive
                                  24   arguments, including many issues and argument already decided. The following motions are
                                  25   currently pending before the Court which the Court lists in the order addressed herein: (1)
                                  26   Plaintiff’s Motion to Disqualify the Judge (Dkt. No. 211); (2) Plaintiff’s Declaration of Mistrial
                                  27   (Dkt. Nos. 205 and 206); (3) Plaintiff’s Motion to Disqualify Counsel (Dkt. No. 207); (4)
                                  28
                                            Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 2 of 25




                                   1   Plaintiff’s Motion to Stay (Dkt. No. 208); (5) Defendant’s Bill of Costs (Dkt. No. 209); (6)

                                   2   Plaintiff’s Motion to Strike the Bill of Costs (Dkt. No. 214) 1; (7) Plaintiff’s Motion to Continue

                                   3   Deadline to File an Appeal (Dkt. No. 212); (8) two Motions for Rule 11 Sanctions (Dkt. Nos. 215,

                                   4   216); (9) Plaintiff’s Motion to Amend the Complaint (Dkt. No. 221); (10) Plaintiff’s Motion to

                                   5   Quash (Dkt. No. 222); (11) Second Administrative Motion For Transcripts (Dkt. No. 224); and

                                   6   (12) Plaintiff’s Motion to Compel (Dkt. No. 229.) Having considered the papers filed and

                                   7   accompanying submissions, as well as all other evidence of record, the Court hereby DENIES

                                   8   motions numbered above as 1-3, 5, 8-12; GRANTS motion number 6; and GRANTS IN PART AND

                                   9   DENIES IN PART the remaining motions for the reasons set forth below. 2

                                  10                                                        ***

                                  11   I.       MOTION TO DISQUALIFY
                                  12            Plaintiff moves to disqualify the undersigned judge. Recusal is the process by which a
Northern District of California
 United States District Court




                                  13   federal judge may be disqualified from a given case. Motions to recuse a district judge are

                                  14   governed by two statutes, 28 U.S.C. § 144 and § 455. Plaintiff does not state which statute

                                  15   governs his motion, so the Court analyses the motion under both.

                                  16            Section 455 provides that a federal judge “shall disqualify [herself] in any proceeding in

                                  17   which [her] impartiality might reasonably be questioned,” as well as in specific identified

                                  18   circumstances. 28 U.S.C. § 455(a), (b). To determine whether a district judge should be removed

                                  19   for possible bias or prejudice under section 455(a), the Court should “ask whether a reasonable

                                  20   person with knowledge of all the facts would conclude that the judge’s impartiality might

                                  21   reasonably be questioned.” United States v. Holland, 519 F.3d 909, 913 (9th Cir. 2008) (citations

                                  22   and internal quotation marks omitted). “[T]he judge’s conduct during the proceedings should not,

                                  23   except in the ‘rarest of circumstances’ form the sole basis for recusal under § 455(a).” Id. at 914.

                                  24   The Ninth Circuit has acknowledged myriad issues that ordinarily do not require recusal under

                                  25

                                  26
                                                The Court liberally construes plaintiff’s Motion to Strike the Bill of Costs as an
                                                1

                                  27   opposition to the Bill of Costs.
                                                2
                                  28             Pursuant to Federal Rule of Civil Procedure 78(b) and Civil Local Rule 7-1(b), the Court
                                       finds that the motions are appropriate for decision without oral argument.
                                                                                         2
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 3 of 25




                                   1   section 455, including: “(1) rumor, speculation, beliefs . . . and similar non-factual matters; (2) the

                                   2   mere fact that a judge has previously expressed an opinion on a point of law; (3) prior rulings in

                                   3   the proceeding; (4) mere familiarity with the defendant(s) or the type of charge; (5) baseless

                                   4   personal attacks on or suits against the judge by a party; (6) reporters’ personal opinions or

                                   5   characterizations; and (7) threats or other attempts to intimidate the judge.” Id. at 914 n. 5

                                   6   (internal quotations and citations omitted).

                                   7             Plaintiff does not identify any extrinsic evidence of bias in this case. Instead he seeks to

                                   8   challenge the Court’s decisions in denying plaintiff’s previous motions. Specifically, plaintiff

                                   9   alleges that the undersigned judge “held [plaintiff] to standards that don’t even exist (dismissing

                                  10   my Motion for Summary Judgment improperly . . .” and “made serious errors of fact in her order

                                  11   dismissing Andrew Cash with prejudice in error . . . .” (Dkt. No. 211 at 2.)

                                  12             It is well-established that actions taken by a judge during the normal course of
Northern District of California
 United States District Court




                                  13   proceedings are not proper grounds for disqualification. See United States v. Scholl, 166 F.3d 964,

                                  14   977 (9th Cir. 1999); see also Leslie v. Grupo ICA, 198 F.3d 1152, 1160 (9th Cir. 1999) (court’s

                                  15   adverse rulings are not an adequate basis for recusal). Further, plaintiff’s motion does not

                                  16   demonstrate that this is one of the “rarest circumstances” in which disqualification should be

                                  17   granted based on a judge’s rulings. The adequacy of a judge’s rulings is properly saved for an

                                  18   appeal.

                                  19             To the extent plaintiff is suggesting that the current motion should be referred to another

                                  20   judge pursuant to 28 U.S.C. § 144, that contention also fails. Section 144 requires plaintiff to file

                                  21   an affidavit stating reasons for the belief that bias or prejudice exists. United States v. Sibla, 624

                                  22   F.2d 864, 867 (9th Cir. 1980); see also Civil. L.R. 3-14 (outlining procedure for disqualification

                                  23   pursuant to 28 U.S.C. § 144). Plaintiff has not filed an affidavit and fails to identify any facts

                                  24   demonstrating bias or prejudice against him. The pro se plaintiff’s pending motion, even if

                                  25   liberally construed to be an affidavit, would not mandate a referral for the reason that it is facially

                                  26   and legally insufficient. “An affidavit filed pursuant to that section is not legally sufficient unless

                                  27   it specifically alleges facts that fairly support the contention that the judge exhibits bias or

                                  28
                                                                                            3
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 4 of 25




                                   1   prejudice directed toward a party[.]” Sibla, 624 F.2d at 868.3 Plaintiff’s conclusory assertions are

                                   2   insufficient to support plaintiff’s request. Based on the foregoing the Court DENIES plaintiff’s

                                   3   motion to disqualify the undersigned judge.

                                   4   II.    PLAINTIFF’S DECLARATION OF MISTRIAL
                                   5          Plaintiff filed a declaration of mistrial after trial had already concluded. Because the

                                   6   motion was made once trial concluded and judgment entered, the Court construes plaintiff’s

                                   7   motion as a motion for a new trial.

                                   8          In order to grant a motion for new trial under Rule 59, the trial court must find that “the

                                   9   verdict is contrary to the clear weight of the evidence, is based upon false or perjurious evidence,

                                  10   or to prevent a miscarriage of justice.” Passantino v. Johnson & Johnson Consumer Prods., 212

                                  11   F.3d 493, 510 n. 15 (9th Cir. 2000). “Upon the Rule 59 motion of the party against whom a

                                  12   verdict has been returned, the district court has the duty . . . to weigh the evidence as [the court]
Northern District of California
 United States District Court




                                  13   saw it, and to set aside the verdict of the jury, even though supported by substantial evidence,

                                  14   where, in [the court’s] conscientious opinion, the verdict is contrary to the clear weight of the

                                  15   evidence.” Molski v. M.J. Cable, Inc., 481 F.3d 724, 729 (9th Cir. 2007) (internal quotation

                                  16   omitted). Thus, in connection with a motion for new trial, “[t]he judge can weigh the evidence

                                  17   and assess the credibility of witnesses, and need not view the evidence from the perspective most

                                  18   favorable to the prevailing party.” Landes Constr., Co., Inc. v. Royal Bank of Canada, 833 F.2d

                                  19   1365, 1371–72 (9th Cir. 1987) (quoting 11 Wright & Miller, Fed. Prac. & Proc. § 2806, at 48–

                                  20   49). While there is no set formula, the Ninth Circuit has held that a court should grant a motion

                                  21   for new trial “[i]f, having given full respect to the jury’s findings, the judge on the entire evidence

                                  22   is left with the definite and firm conviction that a mistake has been committed.” Id.; see also O2

                                  23   Micro Int’l Ltd. v. Monolithic Power Sys., Inc., 420 F. Supp. 2d 1070, 1075 (N.D. Cal. 2006) aff’d,

                                  24   221 F. App’x 996 (Fed. Cir. 2007) (same). Where multiple theories could support the verdict,

                                  25

                                  26          3
                                                  Sibla required that the bias or prejudice “stem from an extrajudicial source.” Sibla, 624
                                  27   F.2d at 868. Since the Supreme Court has held that an extrajudicial source “is not a necessary
                                       condition for ‘bias or prejudice’ recusal, since predispositions developed during the course of a
                                  28   trial will sometimes (albeit rarely) suffice.” Liteky v. United States, 510 U.S. 540, 554 (1994).

                                                                                          4
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 5 of 25




                                   1   sufficient evidence as to any of one of them will defeat a motion for new trial. See McCord v.

                                   2   Maguire, 873 F.2d 1271, 1273-74 (9th Cir.), opinion amended on denial of reh’g, 885 F.2d 650

                                   3   (9th Cir. 1989) (“When a general verdict may have rested on factual allegations unsupported by

                                   4   substantial evidence, we will uphold the verdict if the evidence is sufficient with respect to any of

                                   5   the allegations.”); Weaving v. City of Hillsboro, 763 F.3d 1106, 1121 (9th Cir. 2014) (same);

                                   6   S.E.C. v. Todd, 642 F.3d 1207, 1213 n.1 (9th Cir. 2011) (on motion for new trial, where four

                                   7   independent factual bases supported the jury verdict, reviewing sufficiency of evidence for all four

                                   8   bases not necessary).

                                   9          Plaintiff’s motion rehashes many arguments that were previously addressed by the Court.

                                  10   In summary, plaintiff bases his motion on arguments that (a) the jury’s verdict is not supported by

                                  11   the evidence; (b) defense counsel’s conduct during trial warrants a new trial; and (c) claims that

                                  12   this Court committed prejudicial error during trial. The Court addresses each.
Northern District of California
 United States District Court




                                  13          A.      Improper Decision by the Jury
                                  14          Plaintiff argues that the jury reached an improper verdict because the evidence showed that

                                  15   plaintiff suffered an injury to the left side of plaintiff’s neck that could have only been caused by

                                  16   defendant’s actions. Plaintiff also argues that it was well-established that an attempted carotid hold

                                  17   was unreasonable just for pushing off the ground.

                                  18          The jury heard plaintiff’s evidence and took plaintiff seriously but ultimately concluded

                                  19   that plaintiff did not prove his case. Substantial evidence was presented from which the jury could

                                  20   readily conclude that defendant did not use excessive force on plaintiff in the booking area.

                                  21   Plaintiff and defendant both testified that plaintiff abruptly turned towards a second deputy,

                                  22   Fazzio, during the event. Contrary to plaintiff’s characterization of the events, this was not just an

                                  23   issue of plaintiff pushing off the ground. Plaintiff testified that his turn was not confrontational but

                                  24   was instead done as a matter of natural reflex. By contrast, defendant testified that he interpreted

                                  25   the turn to be a sign of aggression and that is when the take down occurred. Plaintiff also testified

                                  26   that he did not initially obey deputy Fazzio’s commands because he was confused about what he

                                  27   was being asked. Plaintiff conveniently ignores how this initial refusal to obey can be viewed

                                  28
                                                                                          5
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 6 of 25




                                   1   objectively to someone else.4 Plaintiff’s own expert, Dr. Chuck Rylant, testified that everything

                                   2   that occurred was reasonable, except for the use of a carotid hold.

                                   3          Ultimately, plaintiff’s motion rests not on a lack of evidence, but on plaintiff’s own

                                   4   interpretation of that evidence and how the jury should have believed him, not defendant Smith.

                                   5   Obviously, the jury did not have to accept plaintiff’s version of the evidence. It is the jury’s

                                   6   purview to decide what the evidence means, whether it is credible, and how to weigh it.5

                                   7   Accordingly, plaintiff’s motion for a new trial based upon the evidence presented is DENIED.

                                   8          B.      Claims of Prejudicial Conduct by Defendant’s Counsel
                                   9          Next, plaintiff argues that he is entitled to a new trial because of defendant’s counsel’s

                                  10   prejudicial misconduct.

                                  11          A new trial is warranted on the ground of attorney misconduct during the trial where the

                                  12   “flavor of misconduct . . . sufficiently permeate[s] an entire proceeding to provide conviction that
Northern District of California
 United States District Court




                                  13   the jury was influenced by passion and prejudice in reaching its verdict.” Anheuser-Busch, Inc. v.

                                  14   Nat. Beverage Distributors, 69 F.3d 337, 346 (9th Cir. 1995) (internal citation omitted). Conduct

                                  15   may be said to “permeate” the proceedings even if it occurs only at the end of a trial or in closing

                                  16   statements. Bird v. Glacier Elec. Coop., Inc., 255 F.3d 1136, 1145 fn. 16 (9th Cir. 2001).

                                  17   However, courts consider the likely prejudice from the conduct in light of the “totality of

                                  18   circumstances, including the nature of the comments, their frequency, their possible relevancy to

                                  19   the real issues before the jury, the manner in which the parties and the court treated the comments,

                                  20   the strength of the case, and the verdict itself.” Hemmings v. Tidyman’s Inc., 285 F.3d 1174, 1193

                                  21   (9th Cir. 2002).

                                  22

                                  23          4
                                                 Indeed, plaintiff’s own sister, Lindsay Best, testified that given his socially awkward
                                  24   nature and his difficulty with eye contact, he was bullied when younger and that he also looked
                                       suspicious and as if he had done something wrong. She also confirmed that sometimes plaintiff
                                  25   recalls things differently from others.

                                  26
                                              5
                                                  In fact, the jury was instructed that they may “believe everything a witness says, or part
                                       of it, or none of it.” In order to resolve issues of credibility, the jury may consider whether a
                                  27   witness had been untruthful with respect to other parts of their testimony. Here, the jury could
                                       have easily disbelieved Mr. Best’s version of the events leading to his arrest in the first place and,
                                  28   on cross-examination, he was shown to have stretched the truth multiple times.

                                                                                          6
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 7 of 25




                                   1          In summary, plaintiff asserts attorney misconduct during trial on five grounds.6 First,

                                   2   plaintiff argues that defense counsel lied to the jury when counsel stated both that plaintiff had

                                   3   preexisting anemia, and that plaintiff continuously changed his story about what happened. As a

                                   4   threshold matter, evidence respecting each statement exists. During trial plaintiff testified about

                                   5   his prior medical conditions, including anemia. 7 Next, the record demonstrates, and the Court is

                                   6   keenly aware, of the inconsistencies with plaintiff’s recollection of what happened during the

                                   7   event. That he may not have had any manipulative intent is not relevant, the issue is the

                                   8   credibility of his memory. Further, defense counsel comments did not permeate the proceedings

                                   9   but were appropriately made during closing argument and well within the range of allowable

                                  10   advocacy. Further, the Court consistently instructed the jury during the course of the trial that

                                  11   statements made by counsel were not evidence.

                                  12          Second, plaintiff argues that counsel’s statements and questioning of Dr. Rylant’s
Northern District of California
 United States District Court




                                  13   credentials and expertise was improper because the questioning had nothing to do with Dr.

                                  14   Rylant’s testimony on direct examination. Not so. Credibility issues are a proper focus of cross-

                                  15   examination, and by extension, are related to the reliability of testimony made during direct

                                  16   examination. Dr. Rylant testified that he was familiar with the Use of Force policies in San Luis

                                  17   Obispo County even though he never worked in San Luis Obispo County. With this testimony, it

                                  18   was appropriate for counsel to cross examine Dr. Rylant on his qualifications and expertise

                                  19   relating to departments Use of Force policies as such questioning fell within the scope of direct

                                  20   examination.

                                  21          Third, plaintiff contends that a new trial is also warranted because counsel brought up

                                  22   plaintiff’s criminal background during the trial. The record demonstrates that the Court explained

                                  23   to plaintiff, outside of the presence of the jury, that plaintiff opened the door to impeachment

                                  24

                                  25          6
                                                  The Court notes that many of the alleged conduct as to defendant’s counsel relates to
                                  26   pretrial disputes upon which the Court has already ruled. The Court will not repeat those rulings
                                       here and instead focuses on plaintiff’s allegations about counsel’s alleged conduct during trial.
                                  27          7
                                                Plaintiff and his sister both testified about the extent of plaintiff’s preexisting medical
                                  28   conditions during trial. In addition to anemia, they testified that plaintiff suffered previous
                                       concussions as a result of unrelated events.
                                                                                           7
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 8 of 25




                                   1   evidence when he testified that he had no criminal history. Counsel asked plaintiff what he meant

                                   2   when he said, “no criminal history” but plaintiff refused to define his own meaning of the phrase

                                   3   “criminal history.” If plaintiff had, the impeachment could have been narrowed or cabined, but

                                   4   plaintiff refused to define what he meant by the term. Further, plaintiff’s sister testified that as far

                                   5   back as high school plaintiff was passive and had no issues. By doing so, her testimony opened the

                                   6   door for contradictory evidence. The underlying documents regarding plaintiff’s criminal history

                                   7   were not admitted and the line of questioning was cut off after defendant’s counsel made the point.

                                   8           Fourth, plaintiff argues that defendant’s counsel’s withheld certain training records for

                                   9   deputies Fazzio and Smith. These arguments are a rehash of the discovery disputes that occurred

                                  10   in front of Magistrate Judge Ryu on April 8, 2021. (See Dkt. No. 99.) To the extent certain records

                                  11   were ordered, and not produced, plaintiff should have brought a motion to compel such records in

                                  12   front of Magistrate Judge Ryu. Any claim of prejudice is belied by the delay in raising it now.
Northern District of California
 United States District Court




                                  13   Moreover, both deputies testified at trial and nothing stopped plaintiff from questioning them

                                  14   about their trainings and the curriculum upon which they relied.

                                  15           Finally, plaintiff lists an alleged HIPAA violation as another reason for granting a new

                                  16   trial. Plaintiff fails to offer any argument as to the nature of the alleged violation and how it would

                                  17   warrant a new trial.8 This alone is enough to deny this basis of the motion. However, construing

                                  18   plaintiff’s motion liberally, the Court assumes plaintiff’s motion as taking issue with the

                                  19   admissibility of the Rohnert Park Urgent Care records during trial. These records were moved into

                                  20   evidence by plaintiff. Moreover, defendant provided plaintiff with a copy of the records before

                                  21   trial and plaintiff did not raise any objection to the records prior to trial. Thus, any claim of

                                  22   privilege during trial is belated.

                                  23           Ultimately, the Court finds that plaintiff has fallen short of establishing that defendant’s

                                  24   counsel’s conduct during trial warrants a new trial. Plaintiff’s motion contains little more than

                                  25   conclusory assertions devoid of any meaningful explanation of why the requested relief is

                                  26   warranted. Counsel acted well within the scope of allowable advocacy and plaintiff’s

                                  27
                                               8
                                  28               (See Dkt. No. 205, at 6.)

                                                                                           8
                                         Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 9 of 25




                                   1   misunderstanding of the rules of evidence governing impeachment evidence and the scope of

                                   2   cross-examination does not change the result. Accordingly, plaintiff’s motion for a new trial based

                                   3   upon misconduct by defendant’s counsel is DENIED.9

                                   4          C.        Claims of Prejudicial Conduct by the Court
                                   5          Plaintiff argues a new trial is warranted because the Court excluded relevant witnesses,

                                   6   evidence, and testimony and allowed for the introduction of inadmissible evidence.

                                   7          As a preliminary matter, and as previously discussed with plaintiff, the Court notes that

                                   8   plaintiff did not comply fully with his Rule 26 disclosures, this Court’s pretrial orders regarding

                                   9   discovery cutoffs, or the Court’s standing order on trial readiness. In fact, the Court afforded

                                  10   plaintiff far more latitude than would ever have been allowed a represented party to ensure that the

                                  11   jury was presented with the evidence of the event from each side’s perspective. Here, plaintiff

                                  12   provided defendant with claimed exhibits and a witness list at the eleventh hour and many of the
Northern District of California
 United States District Court




                                  13   proffered exhibits and testimony were irrelevant to the issues at trial and/or inadmissible. Thus,

                                  14   they were excluded from being introduced at trial.

                                  15          The Court spent significant time during the pretrial conferences explaining to plaintiff

                                  16   what hearsay is and what the relevant exceptions are. During the Court’s first pretrial conference,

                                  17   plaintiff brought a thumb drive that contained the entirety of plaintiff’s case file. Although under

                                  18   no obligation to do so, the Court spent considerable time reviewing the materials on plaintiff’s

                                  19   entire thumb drive and explained what exhibits were admissible at trial and which ones were not.

                                  20   None of the proposed exhibits were printed, as required by the Court’s standing order on trials.

                                  21   The Court explained why it was ruling the way that it did to plaintiff. (See Dkt. No. 175, “Pretrial

                                  22   Order No. 2”).

                                  23          Additionally, though not timely disclosed, and over defendant’s objection, the Court

                                  24   allowed plaintiff to call a liability expert, a character witness, and a percipient witness. Despite his

                                  25   obligation to do so, plaintiff did not issue trial notices or subpoenas. Again, in an attempt to have a

                                  26   trial with the key witnesses, the Court also ordered defendant to produce four Sheriff employees

                                  27

                                  28
                                              9
                                                 To the extent plaintiff’s motion for sanctions rely on arguments and/or facts presented
                                       here, the motion is DENIED for these same reasons.
                                                                                          9
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 10 of 25




                                   1   who witnessed the event which the defendant was not planning on calling affirmatively. Plaintiff

                                   2   was allowed to examine the witnesses. The Court ordered these witnesses to appear even though

                                   3   it was under no obligation to do so, in an effort to assist in fact finding.

                                   4           Notwithstanding the Court’s extraordinary efforts to assist plaintiff within the bounds of

                                   5   the Court’s own obligation to be fair to both sides, plaintiff still attempted to introduce many of

                                   6   the evidence the Court had previously excluded. He continues to complain of the rulings. The

                                   7   Court discusses them below:

                                   8                   1.      Exclusion of Chris Martin
                                   9           Plaintiff contends that the Court erred in excluding Chris Martin who he wanted to call as

                                  10   an expert. First, plaintiff did not disclose Mr. Martin as a possible expert when the parties

                                  11   exchanged witness lists in January 2022. Nor did plaintiff include Mr. Martin as an expert in the

                                  12   parties’ joint witness exhibit list. (See Dkt. No. 162). It was not until a few days before trial that
Northern District of California
 United States District Court




                                  13   plaintiff requested to have Mr. Martin testify at trial.

                                  14           Moreover, even had Mr. Martin been allowed to testify, the testimony was redundant and

                                  15   only tangentially relevant to damages. As noted above, this trial concerned whether defendant

                                  16   Smith applied a carotid hold; if so, whether it caused damage; and if so, how much. Plaintiff

                                  17   proffered that Mr. Martin would testify generically about the seriousness of the hold. Mr. Martin

                                  18   did not evaluate plaintiff or any of the evidence in this case. By contrast, plaintiff’s police expert,

                                  19   Dr. Rylant, did review evidence and did testify as to the seriousness of the hold and its proper use.

                                  20   While Mr. Martin may have had more experience with respect to carotid holds, the jury heard

                                  21   evidence regarding that topic. Further, at most, Mr. Martin’s testimony would have been relevant

                                  22   generically to damages. Given the lack of a liability finding, any error is not prejudicial.

                                  23                   2.      Testimony of James Naguel
                                  24           Next, plaintiff avers that the Court’s order allowing for defendant’s expert, James Naguel,

                                  25   to testify at trial was prejudicial. Here, again, despite plaintiff having not followed the rules, the

                                  26   Court allowed Dr. Rylant to testify at trial. Like plaintiff’s other witnesses, Dr. Rylant was not

                                  27   timely disclosed. The Court only became aware of plaintiff’s intent to call Dr. Rylant days before

                                  28   the Court’s pretrial conference when defendant filed a motion to exclude Dr. Rylant.
                                                                                          10
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 11 of 25




                                   1             In deciding the motion in limine, over defendant’s objection, the Court denied the motion

                                   2   and allowed Dr. Rylant to testify. To be fair to the defendant, the Court also allowed defendant to

                                   3   call Mr. Naguel as a rebuttal use of force expert. Further, despite having in-court witnesses, the

                                   4   Court allowed Dr. Rylant to testify via Zoom to decrease the out-of-pocket cost to plaintiff. By

                                   5   contrast, the Court did not allow Mr. Naguel to testify via Zoom. Mr. Naguel appeared in person,

                                   6   and plaintiff was allowed to cross-examine him for more than half an hour. In addition, the Court

                                   7   limited Mr. Naguel’s testimony to the scope of defendant’s original use of force testimony. Given

                                   8   this limitation, plaintiff did not suffer prejudice as he never deposed defendant’s original use of

                                   9   force expert, nor did he indicate that he intended to depose Mr. Naguel.

                                  10             The testimony of Mr. Naguel is not a basis to order a new trial.

                                  11                    3.       Absence of Alberto Alvarez10
                                  12             Plaintiff argues that because his fact witness, Alberto Alvarez, did not appear to testify, a
Northern District of California
 United States District Court




                                  13   new trial is warranted.

                                  14             By way of background, during the pretrial conference, the Court learned that Mr. Alvarez,

                                  15   who was arrested at the same place as plaintiff (in an unrelated incident), had probative testimony

                                  16   since he witnessed part of the events while in the Sonoma County booking area at the jail. Again,

                                  17   to facilitate the truth-finding function, the Court took the usual step of calling Mr. Alvarez and

                                  18   questioning him, on the record, about the scope of his knowledge of the facts during the incident.

                                  19   Having heard Mr. Alvarez’s possible testimony, and even though plaintiff had not secured his

                                  20   testimony, the Court allowed Mr. Alvarez to be called as a witness, over defendant’s objection.

                                  21   Despite the Court’s accommodations, plaintiff did not subpoena Mr. Alvarez. Plaintiff later

                                  22   advised that Mr. Alvarez had consulted with a lawyer and decided not to appear at trial. The Court

                                  23   explained that because plaintiff had not subpoenaed Mr. Alvarez, the Court could not order him to

                                  24   appear.

                                  25             In any event, had Mr. Alvarez appeared at trial, his testimony would have had little

                                  26
                                  27
                                                 On July 21, 2022, plaintiff filed a motion to compel Mr. Alvarez and officer Sagan’s
                                                 10

                                  28   testimony. (See Dkt. No. 229.) Plaintiff’s belated motion to compel is hereby DENIED. There is no
                                       need for additional discovery given the Court’s order denying plaintiff’s motion for a new trial.
                                                                                         11
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 12 of 25




                                   1   probative value to the issue of whether the carotid hold was used. When speaking with the Court,

                                   2   Mr. Alvarez explained that he did not see enough of the incident to know whether the carotid hold

                                   3   was applied. Notably, Mr. Alvarez also disputed some of plaintiff’s own recollection of the facts

                                   4   of the incident. For instance, plaintiff was adamant that he was carried to the holding cell and Mr.

                                   5   Alvarez was confident that plaintiff was not.

                                   6           The failure of Mr. Alvarez to testify is not a basis to order a new trial.

                                   7                   4.      Exclusion of Cognitive Impairment Witnesses
                                   8           Next, plaintiff argues that the Court improperly excluded his cognitive impairment

                                   9   witnesses, Laura Zaccheo and Mariah Gasparinni.

                                  10           The two referenced individuals were not properly disclosed nor were they present at the

                                  11   event. Rather they were plaintiff’s neighbors, and he wanted them to testify generally as to his

                                  12   inability to remember things. Plaintiff does not explain how either testimony would be relevant
Northern District of California
 United States District Court




                                  13   given that both witnesses did not know plaintiff before the event and only met him after so they

                                  14   had no ability to comment on the relative change in memory. Thus, the proffered testimony had, at

                                  15   most, very little relevance to the issues at trial. In any event, and again, despite the lack of

                                  16   compliance, the Court allowed plaintiff’s sister, Lindsay Best, to testify about the change in

                                  17   plaintiff’s cognitive impairments. Thus, the jury heard evidence in this regard.

                                  18           Moreover, at most, the testimony is generically related to damages. Given the lack of a

                                  19   liability finding, any error is not prejudicial.

                                  20                   5.      Absence of Arresting Officer Robert Sagan
                                  21           Next, plaintiff argues that the Court improperly excused the arresting officer, Robert

                                  22   Sagan, from testifying at trial.11 Officer Sagan works for Rohnert Park Police Department; and

                                  23   not Sonoma County. As with others, plaintiff did not issue a trial subpoena or notice for Officer

                                  24   Sagan and instead presumed that he would be called to testify because he was listed on

                                  25

                                  26
                                               11
                                  27             By way of background, plaintiff was arrested by the Rohnert Park Police Department for
                                       breaking and entering a construction site during the middle of the night. As is routine protocol,
                                  28   the officers took plaintiff to the Sonoma County Sheriff’s facility for booking and detention.

                                                                                          12
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 13 of 25




                                   1   defendant’s witness list.12 Defendant decided not to call Officer Sagan at trial. Plaintiff was

                                   2   informed that it was possible that Mr. Sagan would not be called to testify. Without a trial

                                   3   subpoena, Officer Sagan could not be compelled to testify at trial.

                                   4          Again, Officer Sagan’s testimony was tangential at best.13 The events at issue occurred in

                                   5   the booking area with a different law enforcement agency. Officer Sagan was not present.

                                   6   Plaintiff argued that he showed calm and polite demeanor during his initial arrest and therefore he

                                   7   must have acted in the same manner when he was with defendant in the booking area. 14 The point

                                   8   is not necessarily true, but in any event, the Court allowed the video from the arrest. Thus, the

                                   9   jury was presented with the precise evidence he claims was lacking.

                                  10          Thus, given the evidence was minimally probative and redundant, no prejudice existed

                                  11   from its exclusion and a new trial is not warranted on that basis.

                                  12                  6.      Testimony of Andrew Cash
Northern District of California
 United States District Court




                                  13          Plaintiff argues that Andrew Cash was allowed to lie under oath and testified as to hearsay.

                                  14   Mr. Cash, former Internal Affairs Investigator with the Sonoma County Sheriff’s Department, was

                                  15   called by the defendant to testify about his face-to-face conversations with Mr. Best shortly after

                                  16   the incident. To the extent that plaintiff complains of a party’s admissions as being hearsay, they

                                  17   are explicitly allowed under Federal Rules of Evidence 801(D)(2).

                                  18          In this motion, plaintiff does not explain what the alleged hearsay is or how it was

                                  19   prejudicial. Moreover, the issues that plaintiff identifies as “lies” by Mr. Cash, including whether

                                  20   he interviewed all six deputies, are irrelevant to the issues that were tried. Additionally, the

                                  21
                                              12
                                  22             The Court notes that its standing order for civil trial requires the simultaneous exchange
                                       of witnesses, so plaintiff should have had his own list of witnesses.
                                  23
                                              13
                                                 In this regard, plaintiff wasted considerable time presenting evidence not probative of
                                  24   the issue of excessive force, such as the arrest, a “fire drill” which was happening in the building,
                                       and character evidence. In many ways, plaintiff used the trial for discovery, much like a
                                  25
                                       deposition, and consequently wasted time.
                                  26          14
                                                 Throughout the trial plaintiff gave, and elicited, testimony about his calm and polite
                                  27   demeanor both before and during the incident. However, the jury did not need to accept such
                                       evidence as true for purposes of the actual event at issue. The jury watched plaintiff’s demeanor in
                                  28   the courtroom. Plaintiff repeatedly argued issues and did not always follow the Court’s
                                       instructions if he was not satisfied with the Court’s ruling.
                                                                                         13
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 14 of 25




                                   1   complained-of statements are Mr. Cash’s perspective on what he recalls Mr. Best telling him. For

                                   2   instance, Mr. Cash testified that plaintiff did not originally mention anything about losing

                                   3   conscious during his initial interview. Plaintiff disagrees with this characterization of events and

                                   4   testified that he lost consciousness momentarily during the incident. Plaintiff fails to recognize

                                   5   that just because a witness and/or party has a different view than he, does not, by definition, mean

                                   6   the witness is lying. Plaintiff’s views and recollection of events are subjective and do not control.

                                   7   As with any trial, there were disputed facts throughout.

                                   8                     7.   Exclusion of Plaintiffs’ Proffered Evidence of Other Use of Force Incidents
                                   9           Plaintiff contends other use of force incidents with the Sonoma County Sherriff’s

                                  10   department should have been allowed and exclusion was improper. The Court explained and

                                  11   discussed extensively at the pretrial conferences that other incidents were not proper topics for

                                  12   plaintiff’s individual claim. All documents discussing these other incidents (news articles) were
Northern District of California
 United States District Court




                                  13   properly excluded as hearsay because plaintiff wanted to introduce them for the truth of the matter

                                  14   asserted and no exception applied. (See Pretrial Order No. 2, at 3.)

                                  15           Additionally, the documents were irrelevant because plaintiff’s claim is against defendant

                                  16   Virgil Smith in his individual capacity. Plaintiff did not have a surviving claim against the sheriff

                                  17   or the department under Monell v. Department of Social Services, 436 U.S. 658 (1978). The Court

                                  18   also excluded them on the grounds that the documents had very little probative value and were

                                  19   prejudicial to defendant.

                                  20                     8.   Exclusion of Email Correspondences
                                  21           Plaintiff argues that the Court improperly excluded his post-event email correspondence

                                  22   with Sonoma County employees Mr. Cash and Ms. Kara Abelson explaining the circumstances

                                  23   around the alleged wrist grab and litigation documents. However, as previously ruled, such emails

                                  24   are hearsay because they were being offered for the truth of the matter asserted. (See Pretrial Order

                                  25   No. 2, at 5-6.)

                                  26                     9.   Exclusion of Scientific Studies and Treatises
                                  27           Plaintiff contends that he was precluded from proffering any scientific studies and treatises

                                  28   on the carotid hold. As previously ruled, such treatises and books are hearsay and not self-
                                                                                         14
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 15 of 25




                                   1   authenticating. (Id. at 5.) Plaintiff argues, again, that such materials are admissible under the

                                   2   Daubert standard because they are purportedly written by experts. Plaintiff misunderstands the

                                   3   standard. The Daubert standard is the standard used by a judge to assess whether a testifying

                                   4   expert witness’s opinions is based on scientifically valid reasoning that can be properly applied to

                                   5   the facts of the case. Here, the experts who authored the books and/or treatises were not testifying

                                   6   in this case, thus the Daubert standard is inapplicable.

                                   7                     10.   Exclusion of Dr. Rylant’s CV into Evidence

                                   8           Plaintiff avers that the Court improperly excluded Dr. Rylant’s CV. However, such

                                   9   information was excluded as hearsay because plaintiff wanted to offer the CV to prove Dr.

                                  10   Rylant’s qualifications. Plaintiff fails to understand that just because someone puts their

                                  11   “qualifications” on a piece of paper does not make it true. Unfortunately, many people are not

                                  12   truthful on resumes or CVs. Thus, testimony under penalty of perjury is required. In any event,
Northern District of California
 United States District Court




                                  13   Dr. Rylant did give the jury information on his background and qualifications. Plaintiff had a

                                  14   chance to question Dr. Rylant at trial. Indeed, plaintiff questioned Dr. Rylant about his

                                  15   qualifications.

                                  16                     11.   Excluded from Testifying about Damages

                                  17           Plaintiff argues that he was excluded from testifying about damages. Plaintiff previously

                                  18   requested that the Court bifurcate the trial and let liability proceed before the damages. The Court

                                  19   granted the request and explained that evidence of damages would only be introduced if plaintiff

                                  20   received a verdict on liability in his favor. (See Pretrial Order No. 2, at 1-2.) Because plaintiff did

                                  21   not receive a verdict on liability in his favor, there was no damages phase of trial.

                                  22                     12.   Defendant’s Counsel’s Testimony about Plaintiff Being Litigious

                                  23           Next, plaintiff argues that the Court allowed defendant’s counsel to wrongly paint plaintiff

                                  24   as litigious. This argument arises from counsel’s cross-examination of plaintiff when counsel

                                  25   brought up plaintiff’s prior lawsuit where plaintiff sued his landlord for his apartment deposit

                                  26   back. During his direct testimony, plaintiff testified about a time that he had sued his previous

                                  27   landlord for the return of his security deposit. Plaintiff testified that it was not until after the

                                  28   parties went to Court that plaintiff remembered that the deposit had in fact been returned and
                                                                                           15
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 16 of 25




                                   1   plaintiff used the money to pay off preexisting debt. Plaintiff used this example to show how

                                   2   sometimes he suffers from cognitive impairment. With that testimony, plaintiff opened the door

                                   3   for defendant’s counsel to ask plaintiff more about the lawsuit over the deposit. Thus, counsel’s

                                   4   questions about the incident during cross-examination were within the scope of plaintiff’s direct

                                   5   testimony.

                                   6                  13.     Newly Appointed Counsel Causing Delay
                                   7          Plaintiff contends that his pro bono attorney caused delay in this case and prohibited him

                                   8   from being able to prepare for trial.

                                   9          By way of background, once plaintiff survived summary judgment, the Court offered to

                                  10   find plaintiff pro bono counsel to assist with trial preparation. Plaintiff indicated a willingness to

                                  11   have the Court try and locate pro bono counsel. The Court stayed the case while it searched for

                                  12   counsel for plaintiff. (See Dkt. Nos. 125, 127.) In the order referring the case to the Federal Pro
Northern District of California
 United States District Court




                                  13   Bono office to locate counsel, the Court explained that counsel’s representation was limited to trial

                                  14   preparation, “discovery has closed,” and that the case was to be taken to trial “based on the record

                                  15   developed.” (Dkt No. 125.) Less than one month later, attorneys David S. Ratner and Shelley

                                  16   Molineaux appeared on plaintiff’s behalf. (Dkt No. 127.) Only then did the Court set a trial date in

                                  17   this case. After approximately three months of being represented by counsel, plaintiff filed a

                                  18   motion to have counsel withdraw because plaintiff wanted counsel to exceed the scope of their pro

                                  19   bono representation and file a motion to reopen discovery. The Court granted the motion to

                                  20   withdraw.

                                  21          While plaintiff was well within his right to decide to try the case without counsel, plaintiff

                                  22   cannot manufacture an issue by requesting counsel, firing counsel, and then arguing that counsel

                                  23   caused a delay. Further, plaintiff has not identified what, if any, motions he would have filed

                                  24   during the time the case was stayed. To the extent plaintiff argues that he would have filed a

                                  25   motion to reopen discovery during that time had he not been represented by counsel, such

                                  26   argument is moot given the Court’s denial of plaintiff’s subsequent motion to reopen discovery.

                                  27   Plaintiff was on notice that discovery would not be reopened once a lawyer appeared. Plaintiff

                                  28   claims that two judges in this District allow for discovery to be opened once a pro bono attorney is
                                                                                          16
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 17 of 25




                                   1   assigned. While that may or may not be true as to other judges’ practices, that is not this Court’s

                                   2   practice. In any event, plaintiff has never demonstrated good cause to reopen discovery and, on

                                   3   plaintiff’s behalf, the Court allowed evidence core to the dispute which had not been timely

                                   4   produced.

                                   5          This is not a basis to order a new trial.

                                   6                                                      ***

                                   7          Ultimately, plaintiff fails to establish any basis upon which a new trial is warranted. The

                                   8   complaint rehashes many evidentiary issues that were previously decided before the start of trial.

                                   9   Further, many of plaintiff’s arguments rest on his own misunderstanding of the Federal Rules of

                                  10   Evidence and the scope of cross-examination. Accordingly, plaintiff’s motion for a new trial based

                                  11   on the Court’s conduct is DENIED.

                                  12          In sum, plaintiff has not established that a new trial is warranted based on conduct by the
Northern District of California
 United States District Court




                                  13   Court or counsel, and the jury’s verdict is supported by the evidence at trial. Accordingly, the

                                  14   motion for a new trial is DENIED. 15

                                  15   III.   PLAINTIFF’S MOTION TO DISQUALIFY COUNSEL 16
                                  16          Whether to disqualify counsel is a matter firmly committed to the district court's

                                  17   discretion. See Gas–A–Tron of Ariz. v. Union Oil Co. of Calif., 534 F.2d 1322, 1325 (9th

                                  18   Cir.1976). The Civil Local Rules for the Northern District of California provide that every

                                  19   attorney practicing in this District must “comply with the standards of professional conduct

                                  20   required of the members of the State Bar of California.” N.D. Cal. Civ. Local Rule 11–4(a)(1). As

                                  21   a result, when ruling on a motion to disqualify, the Court applies California law. Genentech, Inc.

                                  22

                                  23          15
                                                   Plaintiff also filed a motion to quash defendant’s statement that “plaintiff (acting pro
                                  24   per) did not comply with court orders or committed any kind of misconduct during discovery.” It
                                       is not clear to the Court what plaintiff is asking the Court to quash. Even liberally construing
                                  25   plaintiff’s motion as a motion to strike, it is not clear what the Court should strike. Accordingly,
                                       the Court DENIES plaintiff’s motion to quash.
                                  26          16
                                                 The Court notes that plaintiff attached two exhibits to his motion, one titled Motion for
                                  27   Sanctions and the other titled Complaint about Counselors Michael King and Kara Abelson. The
                                       Court has considered them in both its ruling on the Motion to Disqualify Counsel and the Motions
                                  28   for Sanctions.

                                                                                          17
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 18 of 25




                                   1   v. Sanofi–Aventis Deutschland GMBH, C08–04909 SI, 2010 WL 1136478 at *4 (N.D.Cal.Mar.20,

                                   2   2010) (citing Certain Underwriters at Lloyd’s, London v. Argonaut Ins. Co., 264 F.Supp.2d 914

                                   3   (N.D.Cal.2003)); see also In re County of Los Angeles, 223 F.3d 990, 995 (9th Cir.2000) (“we

                                   4   apply state law in determining matters of disqualification”). The Court therefore looks to the

                                   5   California Rules of Professional Conduct, and cases interpreting those rules, in reaching its

                                   6   decision on this motion.

                                   7          Under California law, disqualification of counsel is employed to protect the integrity of the

                                   8   judicial process by enforcing counsel’s duties of confidentiality and loyalty. People ex rel. Dept.

                                   9   of Corporations v. SpeeDee Oil Change Systems, Inc., 20 Cal.4th 135, 1146–1147 (1999); see

                                  10   also Flatt v. Superior Court (1994) 9 Cal.4th 275, 283–284 (1994). “Ultimately, disqualification

                                  11   motions involve a conflict between the clients’ right to counsel of their choice and the need to

                                  12   maintain ethical standards of professional responsibility.” SpeeDee Oil Change, 20 Cal.4th at
Northern District of California
 United States District Court




                                  13   1145. Generally, motions to disqualify counsel are disfavored since they may “pose the very threat

                                  14   to the integrity of the judicial process that they purport to prevent.” Visa U.S.A. v. First Data

                                  15   Corp., 241 F.Supp.2d 1100, 1104 (N.D.Cal.2003), quoting Gregori v. Bank of America, 207

                                  16   Cal.App.3d 291, 300–01 (1989). Thus, the Ninth Circuit has held that requests for disqualification

                                  17   “should be subjected to particularly strict judicial scrutiny.” Optyl Eyewear Fashion Int’l Corp. v.

                                  18   Style Cos., 760 F.2d 1045, 1050 (9th Cir.1985) (citations omitted).

                                  19          Here, the Court finds that plaintiff has not met his burden to show that he has a basis to

                                  20   seek disqualification of defendant’s counsel. First, a party does not typically have standing to

                                  21   bring a motion to disqualify counsel unless the party is a former client of the attorney whom which

                                  22   the party seeks to disqualify. See Kasza v. Browner, 133 F.3d 1159, 1171 (9th Cir. 1998). Plaintiff

                                  23   has never indicated that he was ever a client of counsel. Rather, plaintiff primarily complains

                                  24   about counsel’s chosen litigation strategies and the parties’ differing views of the facts of this case.

                                  25   That is not enough to warrant disqualification. Further, the timing and delay of plaintiff's motion

                                  26   suggest that disqualification would be particularly inappropriate here as the trial has concluded

                                  27   and verdict rendered. Based on the foregoing the Court DENIES plaintiff’s motion to disqualify

                                  28   defense counsel.
                                                                                         18
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 19 of 25




                                   1   IV.    MOTION TO STAY/ MOTION FOR CONTINUANCE

                                   2          A.        District Court Proceeding
                                   3          It is well settled that “the power to stay proceedings is incidental to the power inherent in

                                   4   every court to control the disposition of the causes on its docket with economy of time and effort

                                   5   for itself, for counsel, and for litigants.” Landis v. N. Am. Co., 299 U.S. 248, 254 (1936). Whether

                                   6   to issue a stay in a case is based on the court’s sound discretion and basic principles of equity,

                                   7   fairness, efficiency, and conservation of judicial resources. See Filtrol Corp. v. Kelleher, 467 F.2d

                                   8   242, 244 (9th Cir. 1972).

                                   9          With respect to this Court’s deadlines, the Court hereby DENIES plaintiff’s motion to stay

                                  10   this Court’s deadlines. Plaintiff has filed replies to his pending briefs and responded to defendant’s

                                  11   bill of costs. The case was tried to a jury and judgment was entered. Thus, there is nothing left to

                                  12   stay in this action. Accordingly, the motion is DENIED.
Northern District of California
 United States District Court




                                  13          B.        Notice of Appeal to Ninth Circuit
                                  14          Motions to alter and/or extend a party’s deadline to file a notice of appeal are governed by

                                  15   28 U.S.C. § 2107(c) and Federal Appellate Rule 4.

                                  16          Under Section 2107, “[t]he district court may, upon motion filed not later than 30 days

                                  17   after the expiration of the time otherwise set for bringing appeal, extend the time for appeal upon a

                                  18   showing of excusable neglect or good cause.” 28 U.S.C. § 2017(c). Rule 4 similarly provides “t]he

                                  19   district court may extend the time to file a notice of appeal if . . . a party so moves no later than 30

                                  20   days after the time prescribed by this Rule 4(a) expires[ ] and . . . that party shows excusable

                                  21   neglect or good cause.” Fed. R. App. P. 4(a)(5)(A). Under Rule 4, “no extension may exceed 30

                                  22   days after the prescribed time or 14 days after the date when the order granting the motion is

                                  23   entered, whichever is later.” Fed. R. App. P. 4(a)(5)(C).

                                  24          On March 29, 2022, plaintiff requested a five-month extension so that he can take care of

                                  25   personal and health matters.17 Construing the pleadings liberally, plaintiff has demonstrated good

                                  26
                                  27          17
                                                    The Court makes no statement as to the relevance and/or nature of plaintiff’s medical
                                  28   treatment.

                                                                                         19
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 20 of 25




                                   1   cause for a short extension at this juncture. Nearly four months have passed since the filing of the

                                   2   original motion. The Court finds plaintiff’s request was timely.

                                   3           Here, the Court hereby GRANTS the motion in part. Accordingly, the Court grants a 30-day

                                   4   extension after the time prescribed in Rule 4(a). Notwithstanding that, plaintiff’s request for a five-

                                   5   month extension is DENIED as four months has already passed.18 In sum, plaintiff’s motion to stay

                                   6   and motion for a continuance is GRANTED IN PART AND DENIED IN PART.

                                   7   V.      BILL OF COSTS
                                   8           Defendant filed a bill of costs totaling $8, 261.01. An award of standard costs in federal

                                   9   court is normally governed by Federal Rule of Civil Procedure 54(d).” Champion Produce, Inc. v.

                                  10   Ruby Robinson Co., 342 F.3d 1016, 1022 (9th Cir. 2003). Rule 54(d)(1) states: “[u]nless a federal

                                  11   statute, these rules, or a court order provides otherwise, costs-other than attorney’s fees—should

                                  12   be allowed to the prevailing party . . . . ” Fed. R.Civ.Proc. 54(d). The types of costs that may be
Northern District of California
 United States District Court




                                  13   awarded under Rule 54(d) are limited to those enumerated in 28 U.S.C. § 1920. Crawford Fitting

                                  14   Co. v. J.T. Gibbons, Inc., 482 U.S. 437, 441–442 (1987).

                                  15           District courts have “wide discretion” in determining whether and to what extent prevailing

                                  16   parties may be awarded costs pursuant to Rule 54(d). K–S–H Plastics, Inc. v. Carolite, Inc., 408

                                  17   F.2d 54, 60 (9th Cir. 1969). Rule 54(d)(1) creates a presumption in favor of awarding costs to a

                                  18   prevailing party, but the district court may refuse to award costs within its discretion. See Fed. R.

                                  19   Civ. P. 54(d)(1); Association of Mexican–American Educators v. California, 231 F.3d 572, 591

                                  20   (9th Cir. Cal. 2000) (denial of costs upheld in action regarding allegedly discriminatory test by

                                  21   public school districts). The losing party has the burden to “show why costs should not be

                                  22   awarded.” Save Our Valley v. Sound Transit, 335 F.3d 932, 944–45 (9th Cir. 2003) (award upheld

                                  23   in action to challenge to route of light rail line).

                                  24           The Ninth Circuit has held that proper grounds for denial of costs under Rule 54 include:

                                  25   “(1) a losing party’s limited financial resources; (2) misconduct by the prevailing party; and (3)

                                  26
                                  27           18
                                                  The Court notes that the deadline for plaintiff to appeal has effectively been stayed for
                                  28   five months given the pendency of this motion for new trial and the grant of a 30-day extension to
                                       file the notice of appeal.
                                                                                        20
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 21 of 25




                                   1   ‘the chilling effect of imposing . . . high costs on future civil rights litigants, as well as (4) whether

                                   2   ‘the issues in the case were close and difficult’; (5) whether ‘the prevailing party’s recovery was

                                   3   nominal or partial’; (6) whether ‘the losing party litigated in good faith’; and (7) whether ‘the case

                                   4   presented a landmark issue of national importance.’ ” Champion Produce, Inc. v. Ruby Robinson

                                   5   Co., Inc., 342 F.3d 1016, 1022 (9th Cir. 2003).

                                   6           Here, plaintiff’s limited financial resources as indicated by his in forma pauperis status and

                                   7   his status as a pro se civil rights litigant support denying defendants bill of costs. The Court finds

                                   8   that while plaintiff did not prevail, he pursued his action in good faith. Accordingly, defendants

                                   9   bill of costs is DENIED, and defendant’s costs are not taxable to plaintiff. That said, plaintiff’s

                                  10   arguments about the nature of defendant’s conduct and statements made to plaintiff are not well-

                                  11   taken and do not form a basis for the Court’s decision.

                                  12   VI.     MOTIONS FOR RULE 11 SANCTIONS
Northern District of California
 United States District Court




                                  13           Plaintiff has filed two motions for Rule 11 Sanctions against defendant’s current counsel

                                  14   and former counsel. Rule 11 sanctions are appropriate “when a filing is frivolous, legally

                                  15   unreasonable, or without factual foundation, or is brought for an improper purpose.” Estate of Blue

                                  16   v. Cty. of L.A., 120 F.3d 982, 985 (9th Cir. 1997). Accordingly, Rule 11 sanctions may be

                                  17   imposed: “[ (1) ] where a litigant makes a ‘frivolous filing,’ that is where he files a pleading or

                                  18   other paper which no competent attorney could believe was well grounded in fact and warranted

                                  19   by law; and [ (2) ] where a litigant files a pleading or paper for an ‘improper purpose,’ such as

                                  20   personal or economic harassment.” Greenberg v. Sala, 822 F.2d 882, 885 (9th Cir. 1987).

                                  21           A frivolous filing is one that is “both baseless and made without a reasonable and

                                  22   competent inquiry.” In re Keegan Mgmt. Co., Sec. Litig., 78 F.3d 431, 434 (9th Cir. 1996)

                                  23   (emphasis in original).

                                  24           The party moving for Rule 11 sanctions has the burden to demonstrate why sanctions are

                                  25   justified. See Tom Growney Equip., Inc. v. Shelley Irrigation Dev., Inc., 834 F.2d 833, 837 (9th

                                  26   Cir. 1987). The Ninth Circuit has held that such sanctions are “an extraordinary remedy, one to be

                                  27   exercised with extreme caution.” Operating Eng’rs Pension Trust v. A-C Co., 859 F.2d 1336,

                                  28   1345 (9th Cir. 1988). Sanctions are reserved for “rare and exceptional case[s] where the action is
                                                                                          21
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 22 of 25




                                   1   clearly frivolous, legally unreasonable or without legal foundation, or brought for an improper

                                   2   purpose.” Id. at 1344. “Rule 11 must not be construed so as to conflict with the primary duty of an

                                   3   attorney to represent his or her client zealously.” Id.

                                   4          As a preliminary matter, both motions rehash several issues that were already litigated and

                                   5   decided by the Court. (See Dkt. Nos. 85, 92.) Further, plaintiff has not satisfied his burden of

                                   6   demonstrating why sanctions are justified. Plaintiff’s motion contains little more than conclusory

                                   7   assertions devoid of any meaningful explanation of why the request relief is warranted. The

                                   8   complained-of conduct by counsel is well within the scope of allowable advocacy. Moreover,

                                   9   having tried the case, the Court is keenly aware of counsel’s conduct, both current and former,19

                                  10   and finds that counsel’s conduct did not raise to the level of that warranting sanctions. Counsel has

                                  11   been patient with plaintiff and acted with the upmost professional courtesy and respect towards

                                  12   plaintiff. Disagreements about the facts of the case, without more, is not enough to warrant
Northern District of California
 United States District Court




                                  13   sanctions.

                                  14          In sum, plaintiff’s motions for Rule 11 sanctions are DENIED.

                                  15   VII.   MOTION TO AMEND COMPLAINT
                                  16          Plaintiff filed a proposed third amended complaint at Dkt. No. 221 on April 9, 2022, after a

                                  17   trial on the merits. Given plaintiff’s pro se status, the Court liberally construes such filing as a

                                  18   Motion for Leave to File an Amended Complaint.

                                  19          Federal Rule of Civil Procedure 15(a) provides that a trial court should “freely give leave

                                  20   when justice so requires.” Generally speaking, the rule is “to be applied with extreme

                                  21   liberality.” Owens v. Kaiser Found. Health Plan, Inc., 244 F.3d 708, 712 (9th Cir.

                                  22   2001) (quoting Morongo Band of Mission Indians v. Rose, 893 F.2d 1074, 1079 (9th Cir. 1990)).

                                  23   That said, “leave to amend is not to be granted automatically.” Jackson v. Bank of Hawaii, 902

                                  24   F.2d 1385, 1387 (9th Cir. 1990).

                                  25          In deciding whether justice requires granting leave to amend, court weighs the following

                                  26   factors: (1) bad faith; (2) undue delay; (3) prejudice to the opposing party; (4) futility of the

                                  27
                                              19
                                  28             The Court notes that it did not preside over any of the discovery disputes but sees
                                       nothing in the record to suggest that Rule 11 was violated.
                                                                                         22
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 23 of 25




                                   1   amendment; and (5) whether the movant has previously amended its pleadings to cure

                                   2   deficiencies, (“Foman factors”). See Foman v. Davis, 371 U.S. 178, 182 (1962); see also Johnson

                                   3   v. Buckley, 356 F.3d 1067, 1077 (9th Cir. 2004). Of these factors, “the consideration of prejudice

                                   4   to the opposing party [ ] carries the greatest weight.” Eminence Capital, LLC v. Aspeon, Inc., 316

                                   5   F.3d 1048, 1052 (9th Cir. 2003). “Undue delay alone cannot serve as the basis for the denial of

                                   6   leave to amend.” In re Tracht Gut, LLC v. L.A. Cty. Treasurer & Tax Collector, 836 F.3d 1146,

                                   7   1155 n.4 (9th Cir. 2016).

                                   8           The Court DENIES plaintiff’s Motion for Leave to Amend as MOOT given the Court’s

                                   9   ruling on plaintiff’s motion for a new trial. Further, the motion is untimely. The Court previously

                                  10   granted plaintiff’s request to file a Third Amended Complaint on November 13, 2020 (Dkt. No.

                                  11   74) and gave plaintiff detailed instructions on filing an amended complaint, including “set[ting]

                                  12   forth each claim in a separate numbered paragraph” and the facts and resulting injuries relevant to
Northern District of California
 United States District Court




                                  13   each claim. Plaintiff’s proposed motion does not do that. Rather, it is largely a rehash of his prior

                                  14   complaints. Moreover, plaintiff has not demonstrated good cause for such delay. Additionally,

                                  15   allowing plaintiff to amend his complaint now, once trial has already occurred and judgment has

                                  16   been entered against plaintiff, would be highly prejudicial to defendant. Based on the foregoing

                                  17   reasons, plaintiff’s Motion to For Leave to Amend is DENIED.

                                  18   VIII. MOTION FOR TRANSCRIPTS
                                  19           Requests for transcripts by litigants proceeding in forma pauperis is govern by 28 U.S.C. §

                                  20   1915. Section 1915 provides, in pertinent part, that for proceedings in forma pauperis, “the court

                                  21   may direct payment by the United States of the expenses of (1) printing the record on appeal in

                                  22   any civil . . . case, if such printing is required by the appellate court; [and] (2) preparing a

                                  23   transcript of proceedings before a United States magistrate in any civil . . . case, if such transcript

                                  24   is required by the district court . . . .” Id. at § 1915(b).

                                  25           Section 1915 makes clear that a litigant proceeding in forma pauperis is only entitled to a

                                  26   waiver of fees for certain transcripts when the transcript is needed for an appeal or review of a

                                  27   proceeding of another judge or court. No such proceeding is currently pending. Therefore,

                                  28   plaintiff’s request for a fee waiver is DENIED.
                                                                                            23
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 24 of 25



                                       IX.       SUA SPONTE REVOKING OF IN FORMA PAUPERIS STATUS ON APPEAL
                                   1
                                                 Federal Rule of Appellate Procedure (“FRAP”) 24 governs motions to proceed in forma
                                   2
                                       pauperis (“IFP”) on appeal. Under Rule 24(a)(3)(A), “a party who was permitted to proceed in
                                   3
                                       forma pauperis in the district court action . . . may proceed on appeal in forma pauperis without
                                   4
                                       further authorization, unless . . . the district court—before or after the notice of appeal is filed –
                                   5
                                       certifies that the appeal is not taken in good faith.”
                                   6
                                                 The Court finds there are no valid grounds on which an appeal can be based.
                                   7
                                       Consequently, the Court certifies that any appeal taken from any order in this action will not be
                                   8
                                       taken in good faith and is therefore frivolous. FRAP 24(a)(3)(A); Ellis v. United States, 356 U.S.
                                   9
                                       674, 674– 75 (1958); Hooker v. American Airlines, 302 F.3d 1091, 1092 (9th Cir. 2002).
                                  10
                                       Accordingly, plaintiff’s IFP status is REVOKED.
                                  11
                                                 The Clerk shall forthwith notify plaintiff and the Court of Appeals of this Order. See
                                  12
Northern District of California




                                       FRAP 24(a)(4). Plaintiff may file a motion for leave to proceed IFP on appeal in the Ninth Circuit
 United States District Court




                                  13
                                       within thirty (30) days after service of notice of this Order. See FRAP 24(a)(5). Any such motion
                                  14
                                       “must include a copy of the affidavit filed in the district court and the district court’s statement of
                                  15
                                       reasons for its action.” Id
                                  16
                                                                                                ***
                                  17
                                                 For the foregoing reasons, the Court orders as follows:
                                  18
                                             •   Plaintiff’s Motion to Disqualify the Judge is DENIED;
                                  19
                                             •   Plaintiff’s Declaration of Mistrial is DENIED;
                                  20
                                             •   Motion to Compel is DENIED;
                                  21
                                             •   Plaintiff’s Motion to Disqualify Counsel is DENIED;
                                  22
                                             •   Motion to Stay/ Motion to Continue Deadline to File an Appeal is GRANTED IN PART AND
                                  23
                                                 DENIED IN PART. If plaintiff does not intend to request in forma pauperis status on appeal,
                                  24
                                                 any notice of appeal must be filed with the Ninth Circuit within 58 days from the date of
                                  25
                                                 this order.
                                  26
                                                 However, if plaintiff intends to file a request to proceed in forma pauperis on appeal, both
                                  27
                                                 the notice of appeal and request to proceed in forma pauperis must be filed within 30 days
                                  28
                                                                                          24
                                        Case 4:19-cv-02252-YGR Document 231 Filed 07/26/22 Page 25 of 25




                                   1          of the date of this order in order to conform with the rule setting forth the deadline to file a

                                   2          request to proceed in forma pauperis. This Court does not believe it has authority to

                                   3          extend plaintiff’s deadline to file a request to proceed in forma pauperis on appeal.

                                   4      •   Defendant’s Bill of Costs is DENIED and Plaintiff’s Motion Opposing the Bill of Costs is

                                   5          GRANTED;

                                   6      •   Motions for Rule 11 Sanctions is DENIED;

                                   7      •   Motion to Amend the Complaint is DENIED;

                                   8      •   Plaintiff’s Motion to Quash is DENIED;

                                   9      •   Second Administrative Motion For Transcripts is DENIED; and

                                  10      •   Plaintiff’s IFP status is REVOKED. Any request to proceed in forma pauperis must be filed

                                  11          in the Ninth Circuit within 30 days from the date of this order.

                                  12
Northern District of California
 United States District Court




                                  13          This Order terminates the case.

                                  14          The clerk is directed to close the file.

                                  15          IT IS SO ORDERED.

                                  16   Dated: July 26, 2022
                                                                                         _______________________________________
                                  17                                                             YVONNE GONZALEZ ROGERS
                                                                                            UNITED STATES DISTRICT COURT JUDGE
                                  18
                                  19

                                  20

                                  21

                                  22

                                  23

                                  24

                                  25

                                  26
                                  27

                                  28
                                                                                         25
